                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                              MIDLAND-ODESSA DIVISION

JARED LEE, DANA ELLIS,                       §
MATTHEW COUNTS,                              §
GREGORY MCCLENDON, and                       §
BARRY RUSSELL,                               §
                                             §          Civil Action No. 7:22-cv-185
                                             §
v.                                           §
                                             §          JURY TRIAL DEMANDED
CITY OF MIDLAND, JENNIE                      §
ALONZO, ROSEMARY SHARP, and                  §
CAMILO FONSECA                               §

                   DEFENDANTS’ DISCLOSURE OF INTERESTED PARTIES

          Defendant police officers Jennie Alonzo, Rosemary Sharp, and Camilo Fonseca,

and the City of Midland, Texas identify the following interested parties:

     1.   Jared Lee;
     2.   Dana Ellis;
     3.   Matthew Counts;
     4.   Gregory McClendon;
     5.   Barry Russell;
     6.   The City of Midland, Texas;
     7.   Officer Jennie Alonzo;
     8.   Officer Rosemary Sharp; and
     9.   Officer Camilo Fonseca.


                                          Respectfully submitted,
                                          /s/ Norman Ray Giles
                                          William S. Helfand
                                          Attorney-In-Charge
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                                          Norman Ray Giles
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ATTORNEYS FOR DEFENDANTS

                              CERTIFICATE OF SERVICE

         I hereby certify that on October 3, 2022, I electronically filed the foregoing

document using the CM/ECF system and that a copy of this filing has been forwarded to

all counsel of record through and in accordance with the ECF local rules.

                                                /s/ Norman Ray Giles




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